           Case 1:23-cv-03507-RDB Document 2-2 Filed 12/27/23 Page 1 of 1
                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

JOHN DOE,                                       *

               Plaintiff,                       *

v.                                              *   Civil Action No. _________

UNIVERSITY OF MARYLAND,                         *
COLLEGE PARK
                                                *
               Defendant.
                                                *

                               CERTIFICATE OF SERVICE

       I, Patrick R. Seidel, hereby certify that on December 21, 2023, true and correct copies of

Plaintiff John Doe’s Emergency Motion for Temporary Restraining Order and Preliminary

Injunction, Memorandum of Law in Support of Plaintiff John Doe’s Emergency Motion for

Temporary Restraining Order and Preliminary Injunction, and Proposed Order were

electronically filed through the Court’s CM/ECF system and are available for viewing and

downloading to all registered counsel of record and were served on Defendant by email to

Defendant’s general counsel, Jay Rosselló (rossello@umd.edu), and Assistant Attorney General

Ariel Lichterman of the Maryland Attorney General’s Office (alichterman@oag.state.md.us). *

                                            Respectfully Submitted,

                                            /s/ Patrick R. Seidel
                                            Patrick R. Seidel, Esq. (#21801)
                                            William N. Sinclair, Esq. (#28833)
                                            Todd Hesel, Esq. (#21466)
                                            Silverman Thompson Slutkin & White, LLC
                                            400 East Pratt Street, Suite 900
                                            Baltimore, Maryland 21202
                                            (410) 385-2225
                                            pseidel@silvermanthompson.com
                                            wsinclair@silvermanthompson.com
                                            thesel@silvermanthompson.com

                                            Attorneys for Plaintiff

       *
        Defendant has not waived formal service of the complaint filed contemporaneously with
the above-referenced documents.
